                        Case 1:18-cv-00202-KBJ Document 3 Filed 01/30/18 Page 1 of 4

$25HY6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                               IRUWKH
                                                       'LVWULFW RI &ROXPELD
                                                 BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                                                                 
                                                                 
                                                                 
                                                                 
                            Plaintiff(s)                         
                                                                 
                                 Y                                      &LYLO$FWLRQ1R       	,#+

                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                           Defendant(s)                          

                                                 6800216,1$&,9,/$&7,21

7R (Defendant’s name and address)




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

         :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RXQRWFRXQWLQJWKHGD\\RXUHFHLYHGLW²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3DRU²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH




       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                            CLERK OF COURT


'DWH                                                              T4IFSSZM)PSO
                                                                                      Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-00202-KBJ Document 3 Filed 01/30/18 Page 2 of 4

$25HY6XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                     3522)2)6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ (date)                                          

               ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

               ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

               ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                   ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ (date)                             RU

               ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                         RU

               2WKHU (specify):
                                                                                                                                         


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                     


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                        Case 1:18-cv-00202-KBJ Document 3 Filed 01/30/18 Page 3 of 4

$25HY6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                               IRUWKH
                                                       'LVWULFW RI &ROXPELD
                                                 BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                                                                 
                                                                 
                                                                 
                                                                 
                            Plaintiff(s)                         
                                                                 
                                 Y                                      &LYLO$FWLRQ1R       	,#+

                                                                 
                                                                 
                                                                 
                                                                 
                                                                 
                           Defendant(s)                          

                                                 6800216,1$&,9,/$&7,21

7R (Defendant’s name and address)




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

         :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RXQRWFRXQWLQJWKHGD\\RXUHFHLYHGLW²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3DRU²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH




       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                            CLERK OF COURT


'DWH                                                               T4IFSSZM)PSO
                                                                                      Signature of Clerk or Deputy Clerk
                         Case 1:18-cv-00202-KBJ Document 3 Filed 01/30/18 Page 4 of 4

$25HY6XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R

                                                     3522)2)6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ (date)                                          

               ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

               ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

               ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                   ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ (date)                             RU

               ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                         RU

               2WKHU (specify):
                                                                                                                                         


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                     


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
